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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                JACKSON DIVISION

UNITED STATES OF AMERICA

v.                                                CRIMINAL NO. 3:08-CR-0081 DPJ JCS

BRIA DANIELLE MORRIS and
JAYNITA COLEMAN

               ORDER OF DISMISSAL OF REMAINING COUNTS
     AS TO DEFENDANT JAYNITA COLEMAN MORRIS WITHOUT PREJUDICE

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Counts 1, 5, 7and 11 of the Indictment against defendant JAYNITA COLEMAN

without prejudice.

                                             Respectfully submitted,

                                             DONALD R. BURKHALTER
                                             United States Attorney

                                             /s/Dave Fulcher
                                     By:     DAVE FULCHER
                                             Assistant United States Attorney

       Leave of Court is granted for the filing of the foregoing dismissal of Counts 1, 5, 7and 11

as to defendant JAYNITA COLEMAN without prejudice.

       SO ORDERED AND ADJUDGED this the 3rd day of December, 2009.


                                             s/ Daniel P. Jordan III
                                             UNITED STATES DISTRICT JUDGE
